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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
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 In re

 P & R BRONX LLC                                                  Chapter 11

                                                                  Case No. 18-10512-mew
                           Debtor,

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  ORDER GRANTING MOTION, PURSUANT TO 11 U.S.C. §362(d), TO TERMINATE
         THE AUTOMATIC STAY AGAINST JY NOT SO COMMON L.P.


         Upon creditor JY Not So Common L.P’s (“JY”) Motion for Order pursuant to 11 U.S.C.

 § 362(d) terminating the automatic stay to allow JY to continue foreclosure proceedings against P

 & R Bronx LLC (the “Debtor”), and for in rem relief relating to the properties known as 1205

 Commonwealth Avenue, Bronx, New York (the “Property”) (ECF#10); and upon oral arguments

 heard on March 28, 2018 and the Court having considered JY’s Motion, the relief requested

 therein, pleadings filed in the bankruptcy case, and the representations of counsel and any evidence

 presented at the hearing held on March 28, 2018 on the Motion; it is hereby


         ORDERED, that JY’s Motion is granted to the extent set forth herein, and it is further

         ORDERED, that pursuant to 11 U.S.C. §362(d) the automatic stay is vacated to allow JY

 to continue the foreclosure proceedings against the Property; and it is further

         ORDERED, that any act to enforce a deficiency judgment or to collect other monetary

 relief from the debtor shall proceed only in this Court and shall remain subject to the automatic

 stay; and it is further
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        ORDERED that all applicable government agencies are hereby directed to accept a

 certified copy of this order for filing and recordation and it is further

        ORDERED that the requirement under Bankruptcy Rule 4001(a)(3) that an order granting

 a motion for relief from the automatic stay made in accordance with the Bankruptcy Rule

 4001(a)(1) is stayed until the expiration of 14 days after entry of the order is waived and this Order

 shall be effective and enforceable immediately upon entry.


 DATED:         New York, New York
                March 28, 2018

                                                /s/ Michael E. Wiles
                                                UNITED STATES BANKRUPTCY JUDGE
